               Case 2:21-cv-00312-TSZ Document 125 Filed 04/28/22 Page 1 of 5




 1                                                                         Honorable Thomas S. Zilly
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 8                                 UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9
      REX - REAL ESTATE EXCHANGE, INC.,
10    a Delaware corporation,                          NO. 2:21-cv-00312-TSZ
                                Plaintiff,             NOTICE OF APPEARANCE
11
                     v.
12                                                     (Clerk’s Action Required)
      ZILLOW, INC., a Washington corporation;
13    ZILLOW GROUP, INC., a Washington
      corporation; ZILLOW HOMES, INC., a
14    Delaware corporation; ZILLOW LISTING
      SERVICES, INC., a Washington corporation;
15
      TRULIA, LLC, a Delaware limited liability
16    company; and THE NATIONAL
      ASSOCIATION OF REALTORS, an Illinois
17    trade association,

18                              Defendants.
      NATIONAL ASSOCIATION OF
19    REALTORS®,
20                         Counterclaim Plaintiff,
21             v.
      REX - REAL ESTATE EXCHANGE, INC.,
22
                           Counterclaim Defendant.
23

24    TO:            CLERK OF THE COURT

25    AND TO:        All Parties and Their Respective Counsel of Record

26


     NOTICE OF APPEARANCE – 1                                     CARNEY BADLEY SPELLMAN, P.S.
     [2:21-cv-00312-TSZ]                                                  701 Fifth Avenue, Suite 3600
                                                                            Seattle, WA 98104-7010
     REX002-0001 6905795                                                         (206) 622-8020
               Case 2:21-cv-00312-TSZ Document 125 Filed 04/28/22 Page 2 of 5




 1             YOU, AND EACH OF YOU, WILL PLEASE TAKE NOTICE that Plaintiff and

 2    Counterclaim Defendant, REX – REAL ESTATE EXCHANGE, INC., without waiving any

 3    defenses whatsoever, including but not limited to the defenses referred to in CR 12, hereby

 4    enters an appearance in the above-captioned matter and requests that all further papers and

 5    pleadings, except original process, be served upon the undersigned attorney(s) at 701 Fifth

 6    Avenue, Suite 3600, Seattle, Washington 98104-7010.

 7             DATED this 28th day of April, 2022.

 8                                             CARNEY BADLEY SPELLMAN, P.S.
 9

10                                             By
                                                     Mark Rosencrantz, WSBA #26552
11                                                   Attorneys for Plaintiff and Counterclaim
                                                     Defendant REX – Real Estate Exchange
12

13                                             CARNEY BADLEY SPELLMAN, P.S.
14
                                               By
15
                                                     Teva F. Sempel, WSBA #54896
16                                                   Attorneys for Plaintiff and Counterclaim
                                                     Defendant REX – Real Estate Exchange
17

18                                             BOIES SCHILLER FLEXNER LLP

19                                             By       /s/ Ursula Ungaro
                                                     Ursula Ungaro, pro hac vice pending
20
                                                     Florida Bar #200883
21                                                   Attorneys for Plaintiff and Counterclaim
                                                     Defendant REX – Real Estate Exchange
22

23                                             BOIES SCHILLER FLEXNER LLP

24                                             By       /s/ Carl Goldfarb
                                                     Carl E. Goldfarb, pro hac vice pending
25
                                                     Florida Bar #125891
26                                                   Attorneys for Plaintiff and Counterclaim
                                                     Defendant REX – Real Estate Exchange

     NOTICE OF APPEARANCE – 2                                      CARNEY BADLEY SPELLMAN, P.S.
     [2:21-cv-00312-TSZ]                                                 701 Fifth Avenue, Suite 3600
                                                                           Seattle, WA 98104-7010
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               Case 2:21-cv-00312-TSZ Document 125 Filed 04/28/22 Page 3 of 5




 1
                                          BOIES SCHILLER FLEXNER LLP
 2

 3                                        By        /s/ Stephen N. Zack
                                               Stephen N. Zack, pro hac vice pending
 4                                             Florida Bar #145215
                                               Attorneys for Plaintiff and Counterclaim
 5                                             Defendant REX – Real Estate Exchange
 6

 7                                        BOIES SCHILLER FLEXNER LLP

 8                                        By       /s/ Augusto Cividini
                                               Augusto Cividini, pro hac vice pending
 9
                                               Florida Bar #1032163
10                                             Attorneys for Plaintiff and Counterclaim
                                               Defendant REX – Real Estate Exchange
11

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     NOTICE OF APPEARANCE – 3                                CARNEY BADLEY SPELLMAN, P.S.
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               Case 2:21-cv-00312-TSZ Document 125 Filed 04/28/22 Page 4 of 5




 1                                         CERTIFICATE OF SERVICE

 2            I hereby certify that on this 28th day of April, 2022, I electronically filed the foregoing with the Clerk of
      the Court using the CM/ECF system which will send notification of such filing to the following:
 3
               Attorneys for Plaintiff/Counter-Defendant
 4             Michael K. Vaska
               Benjamin J. Hodges
 5             Rylan L.S. Weythman
               Bianca G. Chamusco
 6             FOSTER GARVEY PC
               1111 3rd Avenue, Suite 3000
               Seattle, WA 98101
 7             (206) 447-4400
               mike.vaska@foster.com
 8             ben.hodges@foster.com
               rylan.weythman@foster.com
 9             bianca.chamusco@foster.com

10             Cristina Moreno
               Darren McCarty
11             McCARTY LAW PLLC
               1410B W 51st Street
12             Austin, TX 78756
               (512) 827-2902
13             cristina@mccartylawpllc.com
               darren@mccartylawpllc.com
14
               Attorneys for Defendants Zillow Inc; Zillow Group; Zillow Homes; Zillow Listing Services;
15             Zillow Group Marketplace; and Trulia
               John A. Jurata, Jr.
16             ORRICK HERRINGTON & SUTCLIFFE
               Columbia Center
17             1152 15th Street NW
               Washington, DC 20005
               (202) 339-8504
18
               jjurata@orrick.com
19             Laura Brooks Najemy
               ORRICK HERRINGTON & SUTCLIFFE
20             222 Berkeley Street, Suite 2000
               Boston, MA 02116
21             (617) 880-1800
               lnajemy@orrick.com
22
               Naomi J. Scotten
23             ORRICK HERRINGTON & SUTCLIFFE
               51 W. 52nd Street
24             New York, NY 10019
               (212) 506-5116
25             nscotten@orrick.com

26


     NOTICE OF APPEARANCE – 4                                                   CARNEY BADLEY SPELLMAN, P.S.
     [2:21-cv-00312-TSZ]                                                                701 Fifth Avenue, Suite 3600
                                                                                          Seattle, WA 98104-7010
     REX002-0001 6905795                                                                       (206) 622-8020
               Case 2:21-cv-00312-TSZ Document 125 Filed 04/28/22 Page 5 of 5



               Russell P. Cohen
 1             ORRICK HERRINGTON & SUTCLIFFE
               405 Howard Street, 7th Floor
 2             San Francisco, CA 94105
               (415) 773-4210
 3             rcohen@orrick.com

 4             Aravind Swaminathan
               Nicole M. Tadano
 5             ORRICK HERRINGTON & SUTCLIFFE
               701 5th Avenue, Suite 5600
 6             Seattle, WA 98104
               (206) 839-4800
 7             aswaminathan@orrick.com
               ntadano@orrick.com
 8             Attorneys for Defendant and Counter-Plaintiff Nat’l Association of Realtors
               Ethan Glass
 9             COOLEY LLP
               1299 Pennsylvania Avenue NW, Suite 700
10             Washington, DC 20004
               (202) 776-2244
11             eglass@cooley.com

12             Kathleen A. Lanigan
               Peter Benson
13             QUINN EMANUEL URGUHART & SULLIVAN LLP
               1300 I Street NW, Suite 900
14             Washington, DC 20005
               (202) 538-8265
15             katlanigan@quinnemanuel.com
               peterbenson@quinnemanuel.com
16
               Michael D. Bonanno
17             QUINN EMANUEL URQUHART & SULLIVAN LLP
               777 Sixth Street NW
18             Washington, DC 20001
               (202) 538-8000
               mikebonanno@quinnemanuel.com
19
               Thomas C. Rubin
20             QUINN EMANUEL URQUHART & SULLIVAN LLP
               1109 1st Avenue, Suite 210
21             Seattle, WA 98101
               (206) 905-7000
22             tomrubin@quinnemanuel.com

23
               DATED this 28th day of April, 2022.
24
                                                               /s/ Lana Ramsey
25                                                      Lana Ramsey, Legal Assistant

26


     NOTICE OF APPEARANCE – 5                                            CARNEY BADLEY SPELLMAN, P.S.
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                                                                                  Seattle, WA 98104-7010
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